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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



MPT, Inc.                                   )       CASE NO. 1:04-cv-2357
                                            )
                      Plaintiff,            )       JUDGE PATRICIA A. GAUGHAN
                                            )
              Vs.                           )
                                            )
Marathon Labels, Inc., and                  )
Polymeric Converting, LLC                   )       Memorandum of Opinion and Order
                                            )
                      Defendants.           )




       INTRODUCTION

       This matter is before the Court upon Defendant Polymeric Converting LLC’s

(“Polymeric”) Motion to Strike New Information from MPT’s Motion for Summary Judgment of

Infringement and/or to Preclude MPT from Using that Information at Trial (Doc. 146).

Polymeric seeks to exclude certain testimony of Dr. Joseph Prahl, an expert for Plaintiff MPT,

Inc. (“MPT”). For the following reasons, Polymeric’s motion is GRANTED.
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       DISCUSSION

       Currently pending before the Court are the parties’ cross-motions for summary judgment.

One matter at issue in those motions is whether certain products of defendants include the claim

limitation of “substantially permanently attaching the placard to the object by adhering said

placard to said container using said adhesive coated face. . . .”1 In support of their contention

that the products do read upon that limitation, MPT may offer the following testimony of Dr.

Joseph Prahl:

       But the key to me is the scaling. Clearly if you want to remove a label and take it
       on and off, then you want the substance that you’re removing it from to be
       adhering to its container with more–preferential force. So it’s really a relative
       thing. The permanent one is the one that will remain attached when you take off
       the removable one. And that means the adhesion between the removable one and
       the permanent one, and the permanent on to the container, that’s really a relative
       scaling of what I mean by permanent. Frankly you can always get the so-called
       permanent one off, but its not–I mean, if you go to some effort. It’s just a
       question of then in this case a permanent could be–it could be removed, but as
       long as the label comes on and off without ever damaging or lifting the permanent
       one, then you’ve met the criteria that’s important to the application.

       Polymeric’s Motion to Strike opposes the introduction of this testimony in the Summary

Judgment Motions or at trial. Polymeric first argues that the testimony is beyond the scope of

Dr. Prahl’s expert report and therefore improper. MPT contends that the disputed testimony is

properly related to the following passage from Dr. Prahl’s expert report which describes the

claim limitation at issue:

       Marathon admits [in an interrogatory response] “one side of the SSP includes a
       coating of adhesive that would allow at least some end-users of the SSP to attach
       the placard to a container” . . . . [Sales literature] advertises that the SSP has “long


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         This language comes from claim 1 of U.S. Patent No. 5,417,790
         (issued May 23, 1995) (the “‘790 patent”). Similar language
         appears in the other claims at issue.

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        lasting durability” implying that the placard is expected to remain on the
        container through repeated relabelings without being removed or becoming
        detached. [Deposition testimony] admits the adhesion is “a permanent bond” . . .
        [and] that the adhesive that adheres the placard to the reusable container is “a
        permanent pressure-sensitive adhesive.”

        The Court agrees with MPT. The testimony at issue is merely further explanation of the

 manner in which the “placard is expected to remain on the container through repeated relabelings

 without being removed or becoming detached.”

        As an alternative basis for striking the testimony, Polymeric argues that Dr. Prahl’s

 conclusions improperly seek to contradict the Court’s claim construction for the term

 “permanently.” The Court previously held that “‘Permanently’ means affixed to an ‘object’ or

 ‘container’ such that a placard permanently attached or affixed to the substrate cannot be

 removed without damaging the placard or the ‘object’ or ‘container.’”

        The Court agrees that Dr. Prahl’s testimony contradicts the Court’s construction for

 “permanently.” The Court defined “permanently” by reference to the strength of the bond

 between the placard and a container. Dr. Prahl, on the other hand, seeks to tell the Court and

 jurors that the strength of the placard/container bond is irrelevant so long as it is proportionally

 greater than the label/placard bond.

        MPT nonetheless argues that the testimony is consistent. It first argues that “Dr. Prahl’s

 opinion (as shown in Exhibit D to his report) is premised on the fact that the defendants use a

 ‘permanent adhesive’ to attach their placard.” However, the testimony at issue, and the portion

 of the expert report that supports that testimony, are not premised on the permanent adhesive

 used to attach the placard.

        MPT also points to the fact that a reference it submitted during patent prosecution and


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 relied on by the Court in its claim construction order described “Permanent” as “[a]n adhesive

 designed to stick to a substrate without edge lifting that cannot be removed without damaging

 either the label or the substrate.” From this MPT concludes that the Court’s definition does not

 require actual damage in all instances where the placard is removed but rather “the property that

 it would be difficult to remove without ripping.” Even if this is true, this distinction does not

 save Dr. Prahl’s testimony. The problem with the disputed testimony is that Dr. Prahl believes

 that “the property that it would be difficult to remove without ripping” is irrelevant so long as the

 placard stays attached when labels are removed.

        MPT cites Medrad, Inc. v. MRI Devices Corp. for the proposition that the modifier

 “substantially” should be defined by reference to the function or purpose of “substantially

 permanently” attaching a placard to a container. 401 F.3d 1313 (Fed. Cir. 2005). At issue in

 Medrad was the construction of the term “substantially uniform magnetic field.” Id. at 1318.

 The term was defined in the district court as “substantially uniform to obtain useful MRI

 images.” Id. The reason a magnetic field has to be substantially uniform in the imaging field is

 that large variations result in unclear images. Id. at 1319. The patentee in Medrad proposed a

 definition of a magnetic field “that has largely, but not wholly, the same form throughout.” Id. at

 1318. It argued that the definition adopted by the district court improperly looked to how the

 invention functioned. Id. at 1319.

        The Federal Circuit affirmed. After rejecting the proposition that functional definitions

 are per se improper, it moved on to consider the specific claim language. The claim language,

 specification and extrinsic evidence all supported the functional definition, and in fact were

 counter to Medrad’s attempts to quantify a specific magnetic field. Id. at 1320.

        Thus Medrad merely stands for the proposition that functional definitions are appropriate
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 when supported by the patent, prosecution history and other relevant evidence. As the Court

 described in its Markman ruling, in this case the prosecution history in particular demonstrates

 significant efforts to provide a quantitative definition of “permanent.” Dr. Prahl’s testimony

 would contradict those efforts.

        MPT is correct that substantially is a term of degree or magnitude. However,

 substantially modifies permanently. Because Dr. Prahl’s testimony could be understood to

 wholly eliminate any degree of permanent attachment, the testimony quoted above is stricken.

 Moreover, he will not be allowed to testify that “as long as the label comes on and off without

 ever damaging or lifting the permanent one, then you’ve met the criteria that’s important to the

 application.”

        Finally, Polymeric has alternatively requested further discovery to rebut Dr. Prahl’s

 testimony. Because the testimony has been stricken, further discovery is unnecessary.

        CONCLUSION

        For the foregoing reasons, Polymeric’s motion is GRANTED.



                 IT IS SO ORDERED.



                                      /s/ Patricia A. Gaughan
                                      PATRICIA A. GAUGHAN
                                      United States District Judge

Dated: 6/13/06




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